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   UNITED STATES OF AMERICA * CRIMINAL NO. 6:23-CR- 00063-DCJ-CBW
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  VERSUS * 18 V.S.C. §§ 2,371,666,981
                   * 28 U.S.C. § 2461
   DUSTY GUIDRY *

                                BILL OF INFORMATION

  THE UNITED STATES CHARGES:

  AT ALL TIMES MATERIAL HEREIN:

         1. The defendant, DUSTY GUIDRY, was an agent of the District

  Attorney's Office of the 15th Judicial District, State of Louisiana, (hereinafter "District

  Attorney's Office ) located within the Western District of Louisiana, acting as an

  agent for the Pre-Trial Diversion Program of the District Attorney's Office.


         2. Beginning on or about February 7, 2017, and continuing until at least


  on or about December 10, 2021, GUIDRY was also the owner of a company called DJG

  Consulting. Beginning on or about August 29, 2019, and continuing until on or about


  November 28, 2022, Skyline Media was registered in the State of Louisiana.


         3. Public Official #1 (PO-1) was an employee and agent of the District

  Attorney's Office.


        4. Vendors #1, #2, #3, and #4 provided services to defendants authorized


  to participate in the Pre-Trial Diversion Program of the District Attorney's Office.


  The defendants were required to pay the vendors directly for such services.




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          5. DUSTy GUIDRY, PO-1, and other agents of the Pre-Trial Diversion


   Program acting under the direction of DUSTY GUIDRY and/or PO-1 referred

   defendants into programs offered by Vendors #1, #2, #3, and #4.


          6. The District Attorney's Office was an agency of the State of Louisiana

   and received in excess of $10,000 annually in benefits under federal programs


   involving grants, contracts, subsidies, loans, guarantees, insurance, and other forms


   of assistance.


                                   COUNT 1
                       CONSPIRACY TO COMMIT AN OFFENSE

                                       l8U.S.C.§371
   The Conspiracy

          7. The introductory allegations set forth in paragraphs 1 through 6 are

   realleged and incorporated by reference as though fully set forth herein.

          8. Beginning on or about January 11, 2021, and continuing until on or


   about May 9, 2022, the defendant, DUSTO GUIDRY, did conspire, confederate, and

   agree with others both known and unknown to the United States, to commit the crime


   of solicitation of a bribe by an agent of a government agency receiving federal benefits,


   in violation of Title 18, United States Code, Section 666(a)(l)(B).

   Purpose of the Conspiracy

         9. It was a purpose of the conspiracy for DUSTY GUIDRY and others to

  enrich themselves by soliciting and accepting money from Vendors #1, #2, #3, and #4,


  in exchange for providing and agreeing to provide favorable official action for Vendors

  #1, #2, #3, and #4 in the Vendors business with the District Attorney's Office.
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         10. It was a further part of the conspiracy to hide, conceal, and cover up the


   nature and scope of the Vendors' dealings with DUSTY GUIDRY and PO-1, including

   the true source and nature of the payments Vendors #1, #2, #3, and #4 provided to


   DUSTY GUIDRY and PO-1.

   Manner and Means of the Conspiracy


         11. The conspiracy was carried out through the following manner and


   means, among others:


         12. DUSTY GUIDRY and PO-1 used their positions within the Pre-Trial

   Diversion Program of the District Attorney s Office to facilitate criminal defendants'

   entry into the Pre-Trial Diversion Program.


         13. In order to expand the number of defendants eligible for Pre-Trial

  Diversion programs, DUST^ GUIDRY and PO-1 loosened and caused to be loosened

  the eligibility requirements of defendants, thereby increasing the amount of money

  paid to the Vendors by defendants. These Vendors then split those increased profits

  and/or made payments to DUSW GUIDRY, PO-1, and their co-conspirators.


         14. Once defendants were admitted to the program, DUSTY GUIDRY and

  PO-1 used their positions within the Pre-Trial Diversion Program of the District

  Attorney s Office to direct criminal defendants assignment to certain classes and


  services provided by Vendors #1, #2, #3, and #4.

         15. Once the defendants completed the Pre-Trial Diversion requirements


  assigned to them, DUSTY GUIDRY and/or PO-1 would cause or direct the dismissal

  of the defendants charges.
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         16. In exchange for DUSTY GUIDRY and/or PO-1 having defendants

   assigned to their programs, Vendors #1 through #4 agreed to and did make payments


   directly to DUSTY GUIDRY, either in his personal capacity or through his company

   DJG Consulting or Skyline Media. Vendors #1 and #3 also agreed to and did provide

   money and other tangible benefits to DUSTY GUIDRY and PO-1 in exchange for the

   official acts that DUSTY GUIDRY and PO-1 took at the District Attorney's Office.

   Overt Acts

         17. In furtherance of the conspiracy and to effect the objects of the


   conspiracy, DUSTY GUIDRY and one or more of the conspirators committed and

   caused to be committed the acts alleged in Count 2 of this Bill of Information, among

  others, in the Western District of Louisiana, which substantive acts are incorporated


  by reference as overt acts.


         18. Also in furtherance of the conspiracy and to effect its objects, DUSTY

  GUIDRY agreed to accept payments and things of value from Vendor #1 in exchange

  for causing and directing that Pre-Trial Diversion defendants be assigned to classes


  offered by Vendor #1. Specifically, Vendor #1 offered and DUSTY GUIDRY accepted

  the purchase and payments toward a vehicle for DUSTY GUIDRY and his wife.

         19. In order to conceal that DUSTY GUIDRY was receiving these payments

  from Vendor #1, DUSTY GUIDRY used Skyline Media to accept the payments.

  DUSTY GUIDRY also directed Vendor #1 to provide the payments or things of value

  to his wife or her company in order to conceal the payments.
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         20. Also in furtherance of the conspiracy and to effect its objects, DUSTY

   GUIDRY agreed to accept payments and things of value from Vendor #2 in exchange

   for causing and directing that Pre-Trial Diversion defendants be assigned to classes


   offered by Vendor #2. Specifically, Vendor #2 offered and DUSTY GUIDRY accepted

   50% of all revenue earned by Vendor #2, including 50% of the revenue Vendor #2

   earned through the Pre-Trial Diversion Program in the 15th JDC.

         21. Also in furtherance of the conspiracy and to effect its objects, DUSTY

   GUIDRY agreed to accept payments and things of value from Vendor #4 in exchange

   for causing and directing that Pre-Trial Diversion defendant be assigned to services


   offered by Vendor #4. On or about October 2, 2021, DUSTY GUIDRY told Vendor #4

  that he had used his official position to direct several Pre-Trial Diversion defendants

  to take courses sponsored by Vendor #4, at a price of several hundred dollars per


   defendant.


         All in violation of Title 18, United States Code, Section 371.

                                 COUNT 2
                BRIBERY- PROGRAMS RECEIVING_FEDERAL FUNDS

                                    18 U.S.C. §§ 2, 666

         22. The allegations set forth in paragraphs 1 through 21 are realleged and

  incorporated by reference as though fully set forth herein.


         23. On or about the 28th day of October 2021, in the Western District of

  Louisiana, the defendant, DUSTY GUIDRY, aided and abetted by others known and

  unknown to the United States, did corruptly accept a thing of value from a person,


  intending to be influenced and rewarded in connection with a transaction or series of
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  transactions of the District Attorney's Office of the 15th Judicial District, involving

   $5,000 or more. Namely, DUSTV GUIDRY accepted a payment of at least $12,500

  from Vendor #3, in exchange for DUSTf GUIDRY and PO-Fs direction that a pre-

  trial defendant be accepted into the Pre-Trial Diversion Program and assigned to


   classes offered by Vendor #3.


         All in violation of Title 18, United States Code, Sections 2 and 666(a)(l)(B).

                                  COUNT 3
                      CONSPIRACY TO COMMIT AN OFFENSE

                                      18 U.S.C. § 371

  AT ALL TIMES MATERIAL HEREIN:

         24. Beginning at least on or about May 1, 2019, until at least on or about


  December 10, 2021, the defendant, DUST^ GUIDRY, was an agent for the Louisiana

  Department of Wildlife and Fisheries (hereinafter LDWF ) located within the

  Western District of Louisiana, and the State of Louisiana.

         25. Public Official #2 (PO-2) was an employee and agent of LDWF during at

  least on or about May 1, 2019 until at least on or about December 10, 2021.


         26. Vendors #1 and #6 provided contractual services to LDWF.


         27. LDWF was an agency of the State of Louisiana that received in excess


  of $10,000 annually in benefits under federal programs involving grants, contracts,


  subsidies, loans, guarantees, insurance, and other forms of assistance.


  The Conspiracy

         28. The introductory allegations set forth in paragraphs 24 through 27 are


  realleged and incorporated by reference as though fully set forth herein.


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          29. Beginning on or about May 1, 2019, and continuing until on or


   about December 10, 2021, the defendant, DUSTY GUIDRY, did conspire, confederate,

   and agree with others both known and unknown to the United States, to commit the


   crime of solicitation of a bribe by an agent of a government agency receiving federal


   benefits, in violation of Title 18, United States Code, Section 666(a)(l)(B).

   Purpose of the Conspiracy

         30. It was a purpose of the conspiracy for DUSTY GUIDRY, PO-2, and

   others known to the United States to enrich themselves by soliciting and accepting

   money and things of value from Vendor #1, in exchange for providing and agreeing to


   provide favorable official action for Vendor #1 in its business with the LDWF.

         31. It was a further part of the conspiracy to hide, conceal, and cover up the


   nature and scope of the Vendor #l)s dealings with DUSTY GUIDRY and PO-2,

   including the true source and nature of the payments Vendor #1 provided to DUSTY

   GUIDRY and PO-2.

   Manner and Means of the Conspiracy


         32. The conspiracy was carried out through the following manner and


   means, among others:


         33. DUSTY GUIDRY and PO-2 used their positions within the LDWF to

   unlawfully steer and attempt to steer LDWF contracts for services to Vendor #1 in

   exchange for payments and other tangible benefits.
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         34. DUST^ GUIDRY, and other public officials known to the United States,

   including PO-2, steered, and attempted to steer contracts to Vendor #1 related to the


  provision of (1) hunters' and boaters' education classes; (2) courses to resolve LDWF


  violations, and (3) hunting and boating licenses.


         35. In exchange, Vendor #1 provided money and other tangible benefits to


  DUSTY GUIDRY and PO-2 specifically due to their official positions at the LDWF.

  Overt Acts

         36. In furtherance of the conspiracy and to effect the objects of the

  conspiracy, DUST^ GUIDRY and one or more of the conspirators committed and


  caused to be committed at least the following acts:

                a. On or about October 8, 2021, PO-2, acting on behalf of the LDWF,


  signed and entered into a contract with Vendor #1, agreeing that Vendor #1 would

  provide services to LDWF related to the provision of (1) hunters' and boaters'

  education classes; (2) courses to resolve LDWF violations, and (3) hunting and

  boating licenses. In return. Vendor #1 would receive a percentage of gross revenues


  earned through the provision of those services.


               b. On or about November 19, 2021, DUSTY GUIDRY, PO-2, and

  Vendor #1 met to discuss concealing and disguising the payment of the bribe

  proceeds. DUSTO GUIDRY, PO-2, and Vendor #1 agreed that Vendor #1 would

  refrain from paying the kickbacks owed to PO-2 until after P0-2's retirement from
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   the LDWF. Further, DUSTY GUIDRY, PO-2, and Vendor #1 agreed that Vendor #1

   would purchase an approximately $14,000 all-ten'ain vehicle for PO-2.


         All in violation of Title 18, United States Code, Section 371, and 666.

                                FORFEITURE ALLEGATION

          37. The allegations contained in Counts 1 through 3 of this Information are

   hereby realleged and incorporated by reference for the purpose of alleging forfeitures

   pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United

   States Code, Section 2461(c).

          38. Upon conviction of the offenses in violation of Title 18, United States

   Code, Sections 371 and 666 set forth in Count 1 through 3 of this Information, the

   defendant, DUSTY GUIDRY, shall forfeit to the United States of America, pursuant

   to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United States Code,

   Section 2461(c), any property, real or personal, which constitutes or is derived from


   proceeds traceable to the offenses.


         39. If any of the property described above, as a result of any act or


   omission of the defendant:

                a. cannot be located upon the exercise of due diligence;


                b. has been transferred or sold to, or deposited with, a third party;


                c. has been placed beyond the jurisdiction of the court;

                d. has been substantially diminished in value; or

                e. has been commingled with other property which cannot be
                      divided without difficulty,
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   the United States of America shall be entitled to forfeiture of substitute property

   pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

   28, United States Code, Section 2461(c).

         All pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c).



                                           Respectfully submitted:

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